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                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

SUZANNE DEGNEN, D.M.D., P.C.                      )
d/b/a SUNSET TOWER FAMILY                         )
DENTISTRY,                                        )
                                                  )
        Plaintiff,                                )          No. 4:15-cv-00450-JAR
                                                  )
v.                                                )
                                                  )
SCHEDULING INSTITUTE, INC. d/b/a                  )
SCHEDULING INSTITUTE, et al.,                     )
                                                  )
        Defendants.                               )

      UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
                             SETTLEMENT

         Plaintiff Suzanne Degnen, D.M.D., P.C. d/b/a Sunset Tower Family Dentistry, individually

and on behalf of the “Settlement Class,” moves under Rule 23 of the Federal Rules of Civil

Procedure for preliminary approval of a proposed class action settlement of this action.

         1.      The parties have agreed to a class-wide settlement of this action concerning

facsimiles in which Plaintiff alleged violation of the Telephone Consumer Protection Act, 47 U.S.C.

§ 227, et seq.

         2.      Defendant Scheduling Institute, Inc. d/b/a Scheduling Institute (“Defendant”) does

not oppose this Motion.

         3.      Plaintiff files contemporaneously herewith its Memorandum in Support of

Unopposed Motion for Preliminary Approval of Class Action Settlement, to which is attached the

Settlement Agreement and Release and additional exhibits.
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       WHEREFORE, Plaintiff Suzanne Degnen, D.M.D., P.C. d/b/a Sunset Tower Family

Dentistry requests that this Court enter an order (1) conditionally certifying the proposed Settlement

Class, (2) granting preliminary approval to the Settlement, (3) naming Plaintiff as class

representative, (4) appointing Ronald J. Eisenberg and Robert Schultz as Class Counsel, (5)

approving the proposed notice plan, (6) scheduling a final fairness hearing, and (7) providing such

other and further relief as the Court deems reasonable and just.



                                           SCHULTZ & ASSOCIATES LLP

                                           By: /s/ Ronald J. Eisenberg
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                                               Attorneys for Plaintiff

                                 CERTIFICATE OF SERVICE
        I certify that on December 18, 2015, the foregoing was filed electronically with the Clerk of
Court to be served by operation of the Court’s electronic filing system upon all registered counsel of
record.
                                                               /s/ Ronald J. Eisenberg




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